                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )       No. 3:22-cr-00282
       v.                                             )
                                                      )       JUDGE RICHARDSON
[2] CADE COTHREN                                      )


    GOVERNMENT’S RESPONSE TO DEFENDANT COTHREN’S EMERGENCY
    MOTION TO QUASH SEARCH WARRANT AND FOR PROTECTIVE ORDER

       Defendant Cade Cothren moves to quash a search warrant for his cell phone in a separate

matter, Case No. 24-MJ-1012, before Magistrate Judge Barbara D. Holmes. See Doc. Nos. 119,

120-2 at 1. Cothren’s motion is misplaced. First, he cannot challenge the constitutionality of a

search warrant with a motion to quash before law enforcement executes the warrant. Second, even

if Cothren could challenge the search warrant at this stage in the proceedings, that challenge should

be directed to the judicial officer who signed it. Finally, a warrant authorizing the government to

search a defendant’s electronic device following careful review by a filter team cannot properly

be described as an “emergency” warranting exceptional treatment by this Court.

       This Court has ordered the government to address “the undersigned district judge’s

authority to quash a search warrant issued by another judicial official in relation to a separate

investigation into potential crimes not alleged in an indictment pending before the undersigned.”

Doc. No. 121. This Court should decline to quash the search warrant for multiple reasons. To

begin, Cothren does not have standing to challenge a search warrant’s constitutionality before it is

executed. As the Supreme Court has explained:

       The Constitution protects property owners not by giving them license to engage the
       police in a debate over the basis for the warrant, but by interposing, ex ante, the
       ‘deliberate, impartial judgment of a judicial officer . . . between the citizen and the
       police,’ and by providing, ex post, a right to suppress evidence improperly obtained



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       and a cause of action for damages.

United States v. Grubbs, 547 U.S. 90, 99 (2006) (quoting Wong Sun v. United States, 371 U.S.

471, 481–82 (1963)).

       In other words, once a magistrate determines that a search warrant is constitutionally

adequate—like Judge Holmes did here—the property owner can challenge it only in “two discrete,

post-enforcement settings: (1) a motion to suppress in a criminal case or (2) a damages claim

under . . . Bivens . . . against the officers who conducted the search.” See Warshak v. United States,

532 F.3d 521, 528 (6th Cir. 2008) (citation omitted). District courts have thus uniformly rejected

pre-execution motions to quash a search warrant for lack of standing. See, e.g., Matter of Search

of Info. Associated With One Email Acct. That is Stored at Premises Controlled by Google, Inc.,

No. 4:23-MJ-174, 2023 WL 4045243, at *3 (E.D. Tex. June 16, 2023) (“Movant does not have

standing under the Fourth Amendment to file a motion to quash the Search Warrant.”); United

States v. Richards, No. 2:20-CR-182, 2020 WL 5893974, at *1 (D. Utah Oct. 5, 2020) (reasoning

that a pre-execution motion to quash a search warrant was “premature” and unsupported by case

law); In re Search of Recs., Info., & Data Associated with 14 Email Addresses Controlled by

Google, LLC, 438 F. Supp. 3d 771, 776 (E.D. Mich. 2020) (holding that email account holders had

“no standing to challenge” a search warrant for their emails because “the Fourth Amendment does

not provide a chance to litigate the validity of a warrant before that warrant has been executed by

the government” (internal quotation marks and citation omitted)).

       Cothren appears to have mistakenly assumed that property owners can resist search

warrants in the same way that subpoena recipients can resist subpoenas, “which are regularly

challenged pre-execution.” See United States v. Info. Associated with Email Acct. (Warrant), 449


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F. Supp. 3d 469, 475 (E.D. Pa. 2020). But he has cited no authority establishing that is true. Cf.

Richards, 2020 WL 5893974, at *1 (“Ms. Richards has not cited any authority supporting the pre-

execution quashing of the search warrant against her.”). And courts treat the two kinds of process

differently. See In re Search of Elec. Commc’ns in the Acct. of chakafattah gmail.com at Internet

Serv. Provider Google, Inc., 802 F.3d 516, 528 n.39 (3d Cir. 2015) (“A subpoena, of course, may

be challenged prior to compliance. In stark contrast, a search warrant is properly challenged after

it is executed.”). Indeed, Federal Rule of Criminal Procedure 41—the rule governing search

warrant procedure—permits a defendant to “move to suppress evidence in the court where the trial

will occur.” Fed. R. Crim. P. 41(h). But it does not provide for a motion to quash—even though

the rules do so in the subpoena context. See Fed. R. Crim. P. 17(c)(2); see also United States v.

Crumpton, No. 3:22-CR-00012, 2023 WL 3611554, at *2 (M.D. Ga. May 23, 2023) (“Rule 41

does not include Rule 17’s language inviting a motion to quash or modify. To be sure, Rule 41

only allows for a motion to suppress evidence.”). Cothren has no standing to bring his motion to

quash the search warrant.

       Even if Cothren could challenge the search warrant for his phone before execution, the

challenge should be addressed to the magistrate judge who signed the warrant. That is the practice

that property owners who receive search warrants have followed in other cases. See, e.g., Info.

Associated with Email Acct. (Warrant), 449 F. Supp. 3d at 470, 475 (holding that petitioner, who

initially brought a motion to quash before the magistrate judge who issued the warrant before

attempting to “appeal” to the district court, did not have standing because a motion to suppress—

not a motion to quash—was the appropriate remedy).

       The Court also ordered the government to “address the emergency nature of the Motion.”


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Doc. No. 121. The Local Rules of this Court do not establish what qualifies as an “emergency.”

The only reference to emergency proceedings is within the context of an application for a

temporary restraining order in a civil case, where the Rules describe the process for requesting an

“emergency hearing . . . in connection with a motion for a TRO.” M.D. Tenn. Local R. 65.01(d).

The Rules state that “[a] motion for a TRO must be made in strict compliance with Fed. R. Civ. P.

65.” Id. at 65.01(c). One of the requirements of Rule 65 is that the motion “describe the injury

and state why it is irreparable.” Fed. R. Civ. P. 65(b)(2).

       Other courts describe emergency motions to include those relating to capital cases, stays

of deportation, or that otherwise involve “an irreparable harm the party will suffer if ruling is not

made by a certain date.” See U.S. Court of Appeals for the Fifth Circuit, Guidance to Filing

Emergency Motions/Petitions, https://www.ca5.uscourts.gov/docs/default-source/forms/guide-to-

filing-emergency-motions.pdf; see also 6th Cir. R. 22(c)(4) (addressing procedures for emergency

motions in death penalty cases). For the reasons stated above, the government’s execution of a

search warrant issued by a duly appointed Magistrate Judge of this District does not constitute an

emergency. Unlike a capital case or a case involving deportation—where an ex ante remedy is

often necessary to prevent irreparable harm—the law provides a defendant who is the subject of a

search warrant the opportunity to pursue clear ex post remedies, including “a right to suppress

evidence improperly obtained and a cause of action for damages.” Grubbs, 547 U.S. at 99.

Therefore, a warrant authorizing the government to search a defendant’s electronic device

following careful review by a filter team cannot properly be described as an “emergency”

warranting exceptional treatment by this Court. Cf. In re Grand Jury Subpoenas, 454 F.3d 511,

522–23 (6th Cir. 2006) (recognizing that where the government obtained evidence “through the


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exercise of a search warrant [as opposed to a subpoena] . . . the potentially-privileged documents

are already in the government’s possession, and so the use of the taint team to sift the wheat from

the chaff constitutes an action respectful of, rather than injurious to, the protection of privilege”).

       Finally, in response to the Court’s supplemental order, Doc. No. 122, the government

proffers that, in an abundance of caution, no extractions of defendant Cothren’s phone seized on

January 30, 2024, have been conducted by the FBI, and the FBI will not perform any pending the

February 5, 2024, telephonic conference.          Furthermore, the government proffers that no

government agent or attorney has reviewed the phone’s contents prior to this filing.

                                          CONCLUSION

       For the foregoing reasons, this Court should deny defendant Cothren’s motion to quash.



       Respectfully submitted,

       THOMAS JAWORSKI                                         COREY R. AMUNDSON
       Attorney for the United States                          Chief
       Middle District of Tennessee                            Public Integrity Section
       Acting Under Authority Conferred by 28
       U.S.C. § 515                                    By:

By:                                                            /s/ John P. Taddei_________
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing motion was electronically filed with

the Clerk on February 2, 2024, and service was made upon all persons registered in that case via

CM/ECF and/or by email.


                                                            /s/ John P. Taddei_________
                                                            JOHN P. TADDEI
                                                            Trial Attorney




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